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1
                        IN THE UNITED STATES DISTRICT COURT
2                         FOR THE DISTRICT OF PUERTO RICO
3

4
     UNITED STATES OF AMERICA,
5

6    Plaintiff,

7    v.                                             CRIMINAL NO. 90-130 (ADC)(HRV)

8
     [1] EUSEBIO ESCOBAR-DE JESUS,
9

10
     Defendant.

11

12
                  MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
13
            I.      INTRODUCTION
14
            Defendant Eusebio Escobar-De Jesus (hereinafter “Mr. Escobar-De Jesus”)
15

16   moves the Court, through counsel, to reduce his life sentence pursuant to 18 U.S.C. §

17   3582(c)(1)(A)(i). The compassionate release motion that is currently pending (Docket
18
     No. 1338), as well as several supplements to said motion (Docket Nos. 1368 and 1374),
19
     have been referred to me for report and recommendation. (Docket No. 1375). Despite
20
     being ordered to respond (Docket No. 1342), the United States has not responded to the
21

22
     defendant’s motion. The probation officer, however, has expressed her position. (Docket

23   No. 1351).
24          For the reasons set forth below, I recommend that defendant’s compassionate
25
     release motion be GRANTED. However, I express no opinion as to the extent of any
26
     reduction should the Presiding District Judge be inclined to adopt my recommendation.
27

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1            II.      FACTUAL 1 AND PROCEDURAL BACKGROUND
2
              For his participation and leadership role in a large drug-trafficking organization,
3
     Mr. Escobar-De Jesus was convicted by a jury of sixteen drug, assault, and weapons-
4
     related counts, including engaging in a continuing criminal enterprise (Count One), and
5

6    causing an intentional killing while engaged in said continuing criminal enterprise

7    (Count Twelve), in violation of 21 U.S.C. §§ 848(a) & (c) and 848(e), respectively.
8            On May 24, 1993, Mr. Escobar-De Jesus was sentenced to life imprisonment as to
9
     Counts One, Ten, Twelve and Twenty; ten years as to Counts Seven, Fifteen and Sixteen;
10
     five (5) years as to Counts Eleven, Seventeen and Eighteen; and four (4) years as to
11

12
     Counts Nineteen, Twenty-Three, Twenty-Four and Thirty-Three, all to be served

13   concurrently with each other. (See Docket No. 1338-3). If ever released, he is to serve a

14   total of five (5) years in supervised release. (Id.) On appeal, all the convictions of Mr.
15
     Escobar-De Jesus were affirmed. United States v. Escobar-De Jesus, 187 F.3d 148 (1st
16
     Cir. 1999). He has been unsuccessful in his many attempts to obtain a reduction of his
17
     life sentences.
18

19           Mr. Escobar-De Jesus’ most recent attempt comes in the form of a counseled

20   “Supplementary Motion to Grant Request for Compassionate Release Pursuant to 18
21
     U.S.C. § 3582(c)(1)(A)(i) and (ii) and Motion at Docket No. 1336.” (Docket No. 1338).
22
     Said motion was filed on September 3, 2021, and has been supplemented several times.
23

24

25

26   1
      For a detailed discussion of the facts and procedural travels of the case, the reader is referred to the First
     Circuit’s opinion in United States v. Escobar-De Jesus, 187 F.3d 148 (1st Cir. 1999).
27

28                                                          2
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1    (Docket Nos. 1345, 1349, 1357, 1366, 1368, 1374 2 and 1376). On October 1, 2021, the
2
     Court ordered the government and the probation officer to respond to the compassionate
3
     release request at Docket No. 1338. (Docket No. 1342). As stated above, the probation
4
     officer complied (Docket No. 1351), but the government has not responded. On February
5

6    23, 2024, the presiding District Judge referred the pending compassionate release

7    motion and supplements to me for report and recommendation. (Docket No. 1375).
8            III.    APPLICABLE LAW AND DISCUSSION
9
             Mr. Escobar-De Jesus argues that several extraordinary and compelling reasons
10
     support a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i). He claims that his age
11

12
     (he is currently 74 years old), the fact that he has been incarcerated for more than 33

13   years, his medical circumstances, his unusually long sentence, and his effort at

14   rehabilitation, in combination, all militate in favor of granting him a reduction of his
15
     sentence. He also maintains that he is no longer a danger to the community under 18
16
     U.S.C. § 3142(g) and that a reduction in sentence would be consistent with both the
17
     applicable policy statement (U.S.S.G. § 1B1.13) and the 18 U.S.C. § 3553(a) factors.
18

19           A. Legal Framework

20           The so-called compassionate release statute, allows a court acting on a defendant-
21
     filed motion—as long as such reduction is consistent “with applicable policy statements
22
     issued by the Sentencing Commission”—to
23

24

25

26   2
      At Docket No. 1374, the defendant supplemented his motion for compassionate release acknowledging
     that the amended policy statement at U.S.S.G. § 1B1.13 has entered into effect and controls the analysis.
27

28                                                       3
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1                  reduce the term of imprisonment (and… impose a term of
                   probation or supervised release with or without conditions
2
                   that does not exceed the unserved portion of the original term
3                  of imprisonment), after considering the factors set forth in
                   section 3553(a) to the extent that they are applicable, if it finds
4                  that—(i) extraordinary and compelling reasons warrant such
                   a reduction . . . .
5

6    18 U.S.C. § 3582(c)(1)(A)(i). This statute is one of the very few exceptions to the rule that

7    once imposed, a term of imprisonment shall not be modified. United States v. Saccoccia,
8    10 F.4th 1, 3 (1st Cir. 2021).
9
            To grant a compassionate release motion, the court must find that a defendant
10
     has established three things: (1) that extraordinary and compelling reasons warrant a
11

12
     sentence reduction; (2) that the reduction is consistent with the applicable policy

13   statements issued by the Sentencing Commission; and (3) that relief is appropriate under

14   the circumstances of the case after considering the applicable 18 U.S.C. § 3553(a) factors.
15
     See United States v. Quiros-Morales, 83 F.4th 79, 84 (1st Cir. 2023). Whether the
16
     reasons advanced by the defendant are extraordinary and compelling is “guided by the
17
     plain meaning of those terms.” United States v. Canales-Ramos, 19 F.4th 561, 566 (1st
18

19   Cir. 2021). “The plain meaning of ‘extraordinary’ suggests that a qualifying reason must

20   be a reason that is beyond the mine-run either in fact or in degree . . . . By the same token,
21
     the plain meaning of ‘compelling’ suggests that a qualifying reason must be a reason that
22
     is both powerful and convincing.” Id. (citations omitted).
23
            Prior to November 1, 2023, and because the Sentencing Commission had not
24

25   issued any policy statements applicable to prisoner-initiated compassionate release

26   motions, the First Circuit had held that district courts had discretion to “consider any
27   complex of circumstances raised by a defendant, as forming an extraordinary and
28                                                 4
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1    compelling reason warranting relief.” United States v. Ruvalcaba, 26 F.4th 14, 28 (1st
2
     Cir. 2022). Subsequently, in United States v. Trenkler, 47 F.4th 42, 47-48 (1st Cir. 2022),
3
     it was clarified that the holding in Ruvalcaba meant that district courts “may conduct a
4
     holistic review to determine whether the individualized circumstances [of the defendant],
5

6    taken in the aggregate, present an ‘extraordinary and compelling’ reason to grant

7    compassionate release,” including alleged sentencing errors.          The “any complex of
8    circumstances” approach, is shaped, however, by the arguments advanced by the
9
     defendant, such as when the defendant presents separate arguments in support of his
10
     request rather than multiple arguments in favor of the sentence reduction. United States
11

12
     v. Gonzalez, 68 F.4th 699, 706 (1st Cir. 2023).

13          It is imperative to note that the Sentencing Commission’s policy statement

14   regarding defendant-filed motions for compassionate release is now in effect. See
15
     U.S.G.G. § 1B1.13 (Nov. 1, 2023). Consequently, the court “must take heed of” the policy
16
     statement as noted in United States v. Rivera-Rodriguez, 75 F.4th 1, 18 n.22 (1st Cir.
17
     2023), and consider its scope in deciding what constitutes an extraordinary and
18

19   compelling reason. United States v. Quiros-Morales, 83 F.4th at 84.

20          The Commission has identified six circumstances that individually or in
21
     combination may provide extraordinary and compelling reasons for a reduction in
22
     sentence. U.S.S.G. § 1B1.13(b). These are: certain medical circumstances such as a
23
     terminal illness or inability to receive medical care while incarcerated, id., § 1B1.13(b)(1);
24

25   the defendant’s age, id. § 1B1.13(b)(2); the defendant’s family circumstances, id. §

26   1B1.13(b)(3); the defendant having been the victim of sexual or physical abuse by or at
27   the direction of a correctional officer, id. § 1B1.13(b)(4); a catch-all provision of any other
28                                                  5
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1    reason or combination of reasons similar in gravity to those described in (1) through (4),
2
     id. § 1B.13(b)(5); and if the defendant received an unusually long sentence, id. §
3
     1B1.13(b)(6).
4
            The policy statement also requires the court to make a finding that “the defendant
5

6    is not a danger to the safety of any other person or to the community, as provided in 18

7    U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(a)(2).        The factors include the nature and
8    circumstances of the offense, the weight of the evidence, the history and characteristics
9
     of the person, and the nature and seriousness that the release of the person would pose
10
     to any person or the community. 18 U.S.C. § 3142(g).
11

12
            With the above legal framework in mind, I discuss Mr. Escobar-De Jesus’

13   arguments in favor of compassionate release.

14          B. Exhaustion of Administrative Remedies
15
            Before discussing the merits of Mr. Escobar-De Jesus’ arguments, a threshold
16
     matter must be addressed. Prior to entertaining a defendant-filed motion for
17
     compassionate release, the court must be satisfied that the defendant fully exhausted
18

19   administrative remedies, or that 30 days elapsed without the director of the Bureau of

20   Prisons having brought such a motion on the defendant’s behalf despite a request to the
21
     warden of the defendant’s facility, whichever is earlier. See 18 U.S.C. § 3582(c)(1)(A); see
22
     also United States v. Texeira-Nieves, 23 F.4th 48, 52-53 (1st Cir. 2022).
23
            In this case, Mr. Escobar-De Jesus has presented evidence in the form of an
24

25   attachment to his motion, showing that on June 1, 2020, he requested from the warden

26   of his facility that a reduction in sentence or compassionate release motion be filed on
27   his behalf. (Docket No. 1338-2). There is no evidence in the record that the warden acted
28                                                6
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1    on the request, and certainly, more than 30 days elapsed without the director of the BOP
2
     moving for a sentence reduction on the defendant’s behalf. Further, the probation officer
3
     in this case has determined, after conducting her own inquiry, that “based on the
4
     information available to [her], it appears that Mr. Escobar has complied with the
5

6    exhaustion requirement.” (Docket No. 1351 at 3). 3 Therefore, I find that defendant’s

7    motion for compassionate release is properly before the court.
8            C. Analysis
9
                  1. Mr. Escobar-De Jesus has met his burden of showing
10                   extraordinary and compelling reasons.
11           After careful consideration of the record, I find that a combination of some of the
12
     reasons advanced by the defendant rise to the level of extraordinary and compelling
13
     warranting compassionate release. First, with respect to the state of defendant’s health,
14
     there is evidence in the record demonstrating that his past and present medical
15

16   circumstances are serious. The defendant suffers from a terminal illness—prostate

17   cancer—that while in remission now, required him to undergo radiation therapy (42
18
     sessions), oral chemotherapy (Lupron) and must be constantly monitored. In addition
19
     to the prostate cancer, Mr. Escobar-De Jesus suffers from Glaucoma, hypertension, and
20
     Hepatitis C.
21

22

23

24   3
      In any event, the exhaustion requirement is not a jurisdictional bar; rather, it is a mandatory claim
     processing rule. See United States v. Texeira-Nieves, 23 F.4th at 53 (“In our judgment . . . [the] exhaustion
25   requirement is not a jurisdictional limitation . . . .”). As such, the government can waive it “either expressly
     or by failing to raise it as a defense.” United States v. Newton, No. 17-cr-0073-JAW, 2023 WL 8529442;
26   2023 U.S. Dist. LEXIS 218588 (D. Me. Dec. 8, 2023)(citations omitted). The government chose not to
     respond to defendant’s motions. Accordingly, I find that the government has waived the exhaustion
27   defense and recommend that the defendant’s motion be decided on its merits.
28                                                          7
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1           A physician from the BOP facility that houses Mr. Escobar-De Jesus has certified
2
     that his medical circumstances include a debilitating medical condition that is serious
3
     and chronic, and that diminishes his ability to function in a correctional environment.
4
     (Docket No. 1338-8).      The policy statement applicable to compassionate release
5

6    specifically provides that extraordinary and compelling reasons exist if “the defendant

7    is . . . suffering from a serious physical or medical condition, . . . or experiencing
8    deteriorating physical or mental health because of the aging process, that substantially
9
     diminishes the ability of the defendant to provide self-care within the environment of a
10
     correctional facility and from which he or she is not expected to recover.” U.S.S.G. §§
11

12
     1B1.13(b)(1)(B)(i) and (ii). Given his age and medical conditions, Mr. Escobar-De Jesus

13   meets the criteria of the policy statement regarding medical circumstances.

14          Second, standing alone, but also in combination with the medical circumstances,
15
     Mr. Escobar-De Jesus’ age supports a finding that extraordinary and compelling reasons
16
     exist in this case. With respect to age of the defendant, the policy statement provides
17
     that compassionate release may be warranted if “[t]he defendant (A) is at least 65 years
18

19   old; (B) is experiencing a serious deterioration in physical or mental health because of

20   the aging process; and (C) has served at least 10 years or 75 percent of his or her term of
21
     imprisonment, whichever is less.” U.S.S.G. § 1b1.13(B)(2). Mr. Escobar-De Jesus is 74
22
     years old and has served over 33 years in prison.
23
            Third, the rehabilitation efforts by Mr. Escobar-De Jesus while serving his
24

25   sentence for the past over three decades, similarly support a finding that a reduction of

26   his sentence is warranted. I am mindful that for purposes of the policy statement,
27   rehabilitation, by itself, cannot be considered an extraordinary and compelling reason.
28                                                8
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1    U.S.S.G. § 1B1.13(d).     However, the Sentencing Commission has determined that
2
     “rehabilitation of the defendant while serving the sentence may be considered in
3
     combination with other circumstances in determining whether and to what extent a
4
     reduction in the defendant’s term of imprisonment is warranted.” Id.
5

6           Here, the record shows, as corroborated by the probation officer, that the

7    defendant has participated in many courses (22 in total), has received satisfactory work
8    evaluations, and while his disciplinary record is not pristine, he has been able to stay out
9
     of trouble for many years. None of his disciplinary incidents have been violent in nature.
10
     Moreover, according to the record, he is a born again Christian.                Letters of
11

12
     recommendation attest to the sincerity of his conversion. (Docket Nos. 1345, 1349, 1366,

13   1368-2, and 1370).

14          I do not find merit, however, in the contention of Mr. Escobar-De Jesus that he
15
     has established extraordinary and compelling reasons because he received an unusually
16
     long sentence. He cites to section 401 of the First Step Act of 2018 (“FSA”), a
17
     nonretroactive amendment to the statutory penalties in 21 U.S.C. §§ 841 and 960, for the
18

19   proposition that there may be a disparity between the life sentence imposed on him and,

20   I surmise, the term of imprisonment he would receive if sentenced today. To the extent
21
     that is his contention, I disagree.
22
            The policy statement provides in relevant part that:
23
                   If a defendant received an unusually long sentence and has
24                 served at least 10 years of the term of imprisonment, a change
25                 in the law (other than an amendment to the Guidelines
                   Manual that has not been made retroactive) may be
26                 considered in determining whether the defendant presents an
                   extraordinary and compelling reason, but only where such
27                 change would produce a gross disparity between the sentence
28                                                9
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1                    being served and the sentence likely to be imposed at the time
                     the motion is filed, and after full consideration of the
2
                     defendant’s individualized circumstances.
3
     U.S.S.G. § 1B1.13(b)(6). Certainly, any life sentence is an unusually long sentence when
4
     compared to the average sentence of imprisonment in federal court. Also, Mr. Escobar-
5

6    De Jesus has served more than 10 years. But in this case, even if the defendant were to

7    be sentenced today, he still would be subjected to a mandatory life sentence under the
8    continuing criminal enterprise statute. See 21 U.S.C. § 848(b). The defendant has cited
9
     no authority, and I have found none, identifying a change in the law that would results
10
     in him not being subjected to mandatory life. Section 401 of the FSA did not change this
11

12
     reality. 4 See United States v. Joseph, CR. NO. 06-00080 (02) SOM, 2023 WL 6690694,

13   2023 U.S. Dist. LEXIS 183475 at *9 (D. Haw. Oct. 12, 2023)(rejecting the contention that

14   a mandatory life sentence that would still apply today falls under the policy statement’s
15
     unusually long sentence category and rebuking the attempt to establish extraordinary
16
     and compelling reasons by comparing sentences for different crimes.)
17
             Notwithstanding, I have found that other extraordinary and compelling reasons
18

19   exist in this case sufficient to warrant a sentencing reduction. I must, therefore, address

20   the remaining prongs of the analysis.
21

22

23

24

25
     4
      Perhaps the point is that the FSA may have changed the sentencing exposure with respect to some of the
26   counts of conviction for which the defendant also received a life sentence. Again, this is of no consequence
     because he still faces mandatory life.
27

28                                                        10
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1               2. There are factors mitigating any danger Mr. Escobar-De Jesus
                   may still pose.
2

3           This is close call. Mr. Escobar-De-Jesus was a leader of a large-scale drug

4    organization that imported cocaine from Colombia for distribution in Puerto Rico and
5
     New York. Such operation was determined to be a continuing criminal enterprise. He
6
     was also convicted of assault and weapons-related charges. More concerning, he was
7
     found guilty of causing the killing of an individual as part of the continuing criminal
8

9
     enterprise. And, at the time of sentencing, he had a prior criminal record from the Puerto

10   Rico local system that included convictions for burglary, robbery, and possession of
11   weapons. (Docket No. 1351 at 9).
12
            Nevertheless, the conduct occurred more than 33 years ago. During the time of
13
     his incarceration, Mr. Escobar-De Jesus has made commendable efforts to rehabilitate
14
     himself. His prison record as well as letters submitted, attest to him being a changed
15

16   man. His age and health conditions also point in the direction of him no longer being a

17   danger to others in the community for data and studies by the Sentencing Commission
18
     show that older offenders are substantially less likely than younger offenders to
19
     recidivate following release. 5 Moreover, in a recent “FSA Recidivism Assessment”
20
     conducted by the BOP, Mr. Escobar-De Jesus was assigned a classification of low risk.
21

22   (Docket No. 1366-1).

23

24

25
     5
        See THE EFFECTS OF AGING ON RECIDIVISM AMONG FEDERAL OFFENDERS, available at
26   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
     publications/2017/20171207_Recidivism-Age.pdf#page=9. Over an eight-year follow up, only 13.4% of
27   offenders age 65 or older at the time of release were re-arrested. Id.

28                                                  11
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1           If released, Mr. Escobar-De Jesus will be under conditions of supervised release
2
     for five years. And the probation officer has determined that defendant has a support
3
     system in the community. She further suggests that “the Court could also consider the
4
     imposition of strict conditions of release to address the danger to the community as well
5

6    as facilitate his reintegration to the Community.” (Docket No. 1351 at 10).

7           For the above-stated reasons, after balancing the factors in 18 U.S.C. § 3142(g), I
8    find that the defendant will not be a danger to the safety of any person or the community
9
     if a reduction of his sentence is granted.
10
               3. A sentence reduction would be consistent with the applicable
11                policy statement of the Sentencing Commission.
12
            In addition to finding that Mr. Escobar-De Jesus has shown extraordinary and
13
     compelling reasons following the rubric of the policy statement itself, when I compare
14
     the record of this case and the specific circumstances of the defendant, it is my opinion
15

16   that a sentence reduction is consistent with the tenets of U.S.S.G. § 1B1.13. Indeed,

17   deteriorating health and old age are some of the main grounds a defendant can assert in
18
     seeking compassionate release. See United States v. Jones, No. 21-20434, 2024 WL
19
     1116925, 2024 U.S. Dist. LEXIS 45321 at *5 (E.D. Mich. Mar. 14, 2024)(finding that
20
     granting compassionate release based on defendant’s health concerns and age was
21

22   consistent with the relevant policy statement); see also United States v. Bradley, No. 16-

23   20014-04-JAR, 2023 WL 8803359, 2023 U.S. Dist. LEXIS 226591 at *7 (D. Kan. Dec.
24   20, 2023)(same).
25

26

27

28                                                12
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1                4. The requested reduction is warranted after considering the
                    section 3553(a) factors applicable to Mr. Escobar-De Jesus’ case.
2

3            I agree with the discussion and assessment of the probation officer with respect

4    to the section 3553(a) factors. (Docket No. 1351 at 6-9). The probation officer specifically
5
     highlighted Mr. Escobar-De Jesus only having one disciplinary infraction since 2002, his
6
     participation in numerous educational programs, his satisfactory work evaluations, and
7
     his conversion to Christianity 6 “which has directed his life in a positive direction.” (Id. at
8

9
     6). A reduction of his sentence given his age and health conditions, and after more than

10   three decades, will still reflect the seriousness of the offense, be just punishment and
11   promote both deterrence and respect for the law. It will also protect the public from
12
     further crimes as stated in the previous section since there are steps that can be taken to
13
     ameliorate any potential danger to the community by imposing strict conditions of
14
     supervision. Mr. Escobar-De Jesus also seems to have a support system and a re-entry
15

16   plan that will assist him in the transition from prison to the free community.

17           IV.     CONCLUSION
18
             In view of the foregoing, I recommend that Mr. Escobar-De Jesus’ motion for
19
     compassionate release be GRANTED. I express no opinion as to the extent of any
20
     reduction, should the Presiding District Judge be inclined to follow my recommendation.
21

22

23

24

25   6
      A letter by Supervisory Chaplain Timoty J. Sastic dated August 16, 2021 states in relevant part that Mr.
     Escobar-De Jesus “has been an active member of Protestant Communities in the Bureau of Prisons for
26   nearly 20 years, . . [,] lives the tenets of his faith in an exemplary manner . . . [,and] [t]he Protestant
     Christian Community at FCI Fairton holds him in high esteem as a great example of following their faith.”
27   (Docket No. 1366-2).
28                                                       13
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1             This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and
2
     Rule 72(d) of the Local Rules of this Court. Any objections to the same must be specific
3
     and must be filed with the Clerk of Court within 14 days. Failure to file timely and
4
     specific objections to the report and recommendation is a waiver of the right to appellate
5

6    review. See Thomas v. Arn, 474 U.S. 140, 155 (1985); Davet v. Maccorone, 973 F.2d 22,

7    30–31 (1st Cir. 1992); Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec. Co., 840 F.2d
8    985 (1st Cir. 1988); Borden v. Sec’y of Health & Human Servs., 836 F.2d 4, 6 (1st Cir.
9
     1987).
10
              IT IS SO RECOMMENDED
11

12
              In San Juan, Puerto Rico this 22nd day of March, 2024.

13                                                  S/Héctor L. Ramos-Vega
                                                   HÉCTOR L. RAMOS-VEGA
14                                             UNITED STATES MAGISTRATE JUDGE
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